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United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA

Case number (if known) Chapter 7

O) Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Bluffton Plumbing Heating & Electrical, Inc

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
2095 Commerce Drive 5880 N Lincoln Street
Bluffton, IN 46714 Uniondale, IN 46791
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Wells Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL) _blufftonplumingheatingandelectric.com

6. Type of debtor H Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

[] Partnership (excluding LLP)
C] Other. Specify:

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1

Debtor Bluffton Plumbing Heating & Elec: trical, Inc Case number (if known)

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Name

7. Describe debtor's business

A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(8))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

OOHOoOoadd

Fa None of the above

B. Check all that apply

(] Tax-exempt entity (as described in 26 U.S.C. §501)

C] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
CJ investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Awww.uscourts.gov/four-digit-national-association-naics-codes.

5074
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? Chapter 7
A debtor who is a “small O] Chapter 9

business debtor’ must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11

(whether or not the debtor is a
“small business debtor’) must

check the second sub-box.

[] Chapter 11. Check all that apply:

[1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

(1 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

oo

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

[1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

[1] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
C] Chapter 12

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a

separate list.

El No.
CO yes.

District When Case number

District When Case number

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor ~—_ Bluffton Plumbing Heating & Elec_trical, Inc Case number (if known)

Name

10. Are any bankruptcy cases nyo
pending or being filed by a
business partner or an O Yes.
affiliate of the debtor?

List all cases. If more than 1, . .
attach a separate list Debtor Relationship

District When Case number, if known

11. Why is the case filed in Check all that apply:
this district?
Es Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

[] A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Doesthedebtorownor yo
have possession of any
real property or personal
property that needs
immediate attention? Why does the property need immediate attention? (Check ail that apply.)

(Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.

1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C1 It needs to be physically secured or protected from the weather.

1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

C Other

Where is the property?

Number, Street, City, State & ZIP Code
Is the property insured?
C1 No
OlYes, !nsurance agency

Contact name

Phone

a Statistical and administrative information

13. Debtor's estimation of . Check one:

available funds C1 Funds will be available for distribution to unsecured creditors.

Ef After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of i 1-49 (1 1,000-5,000 [J 25,001-50,000
creditors C1 50-99 C1 5001-10,000 C1 50,001-100,000

C1 100-199 CX 10,001-25,000 C1 More than100,000
[] 200-999

15. Estimated Assets [1 $0 - $50,000 CJ $1,000,001 - $10 million [J $500,000,001 - $1 billion
[1 $50,001 - $100,000 C1} $10,000,001 - $50 million C] $1,000,000,001 - $10 billion
HE $100,001 - $500,000 C1] $50,000,001 - $100 million C] $10,000,000,001 - $50 billion
C1] $500,001 - $1 million C $100,000,001 - $500 million C1] More than $50 billion

16. Estimated liabilities CJ $0 - $50,000 T $1,000,001 - $10 million C] $500,000,001 - $1 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Debtor Bluffton Plumbing Heating & Elecvtrical, Inc Case number (if known)
Name
C] $50,001 - $100,000 C1] $10,000,001 - $50 million CJ $4,000,000,001 - $10 billion
F2 $100,001 - $500,000 LJ $50,000,001 - $100 million [7] $10,000,000,001 - $50 billion
C1 $500,001 - $1 million [1] $100,000,001 - $500 million Cl More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4

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Debtor —_ Biuffton Plumbing Heating & Electrical, Inc Case number (if known)

Name

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on W) SF / A 5

MM /DD/YYYY
x he hE Chad E. Wooster
Signature of authorized annie of debtor Printed name

Title President

\ /
18. Signature of attorney x C. soy | feo Date a ~{(_=> a _
Signature of attorriey for debtor \ \ MM /DD/YYYY
Fred Wehrwein \

Printed name

Fred Wehrwein, P.C.

Firm name

1910 St. Joe Center Rd., #52
Fort Wayne, IN 46825

Number, Street, City, State & ZIP Code

Contact phone 260-480-5700 Email address Wehrweinpc@aol.com

1405-02 IN
Bar number and State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5

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Debtorname Bluffton Plumbing Heating & Elecitrical, Inc

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number (if known)

O Check if this is an
amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

ja. Real property:
Copy line 88 from SCHOGUIC A/Booccccccccccccssscscsssessessieecsssnseesusecsuneecesrneeeesianessinressietiessentessnessueersersesecsuneessnieanise $ 0.00

1b. Total personal property:
Copy line 91A from Schedule A/B....ccsccsssssssssssssssssesessssssssssussusssussssssecesensuunssnsuinsncnsesnsseeeessotiunessssesssseesteuiies $ 121,050.00

ic. Total of all property:
Copy line 92 from Schedule A/B....ccccccsssessscssscssssssusesssssssssusussssseeseusssseeessinussnsseesseviunsssssstssuneneressisinessss $ 121,050.00

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Du... eect $ 104,000.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F..ccccccssssssssssssseesssimusnnnessesssssninesssstseiesssssetets $ 0.00

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F 00... tenet nectees +$ 177,604.00

4. Total Wiabiities ooo cece cccccceesseeeerr eee eee e keen REE ACER DEDEDE AAAIAAAAOAAEN DESEO EESTI EECA GAAAAEEEEGEEOEEE EEE EOEES OC EE EERIE LESH EEE
Lines 2 + 3a + 3b $ 281,604.00

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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Debtorname Bluffton Plumbing Heating & Elec -trical, inc

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number (if known)

0) Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 1215

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

[) No. Go to Part 2.
EZ Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest
2. Cash on hand $50.00
3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Three Rivers FCU Checking 3222 $15,000.00
3.2. Three Rivers FCU Line Of Credit 8137 $0.00
4. Other cash equivalents (/dentify all)
5. Total of Part 1. $15,050.00

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments

6. Does the debtor have any deposits or prepayments?

EA No. Go to Part 3.
C1 Yes Fill in the information below.

Accounts receivable
10. Does the debtor have any accounts receivable?

C] No. Go to Part 4.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
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Debtor Bluffton Plumbing Heating & Elec.strical, Inc Case number (if known)

Name

Hl Yes Fill in the information below.

11. Accounts receivable
11a. 90 days old or less: 0.00 = - 0.00 =..., $0.00
face amount doubtful or uncollectible accounts
12. Total of Part 3. $0.00

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Investments

13. Does the debtor own any investments?

HZ No. Go to Part 5.
C1 Yes Fill in the information below.

Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

CI No. Go to Part 6.
i Yes Fill in the information below.
General description Date of the last Net book value of Valuation method used
physical inventory debtor's interest for current value
(Where available)
19. Raw materials

20. Work in progress

Current value of
debtor's interest

21. Finished goods, including goods held for resale
22. Other inventory or supplies
Inventory in
supplies-nuts, bolts,
tape, installation $0.00 $2,000.00
23. Total of Part 5. $2,000.00
Add lines 19 through 22. Copy the total to line 84.
24. Is any of the property listed in Part 5 perishable?
No
[Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
No
C Yes. Book value Valuation method Current Value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
EINo
C] Yes
Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
EI No. Go to Part 7.
( Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2
Debtor

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Bluffton Plumbing Heating & Elec.-trical, Inc Case number (if known)

Name

Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

[CI No. Go to Part 8.
Ei Yes Fill in the information below.

General description Net book value of Valuation method used
debtor's interest for current value
(Where available)

Current value of
debtor's interest

39. Office furniture
Leased furniture through building $0.00 $0.00
40. Office fixtures
44. Office equipment, including all computer equipment and
communication systems equipment and software
Leased through building $0.00 $0.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles
43. Total of Part 7. $0.00
Add lines 39 through 42. Copy the total to line 86.
44. Is a depreciation schedule available for any of the property listed in Part 7?
EI No
C] Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
EE No
C1 Yes

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

CI No. Go to Part 9.
Ei Yes Fill in the information below.

General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers debtor's interest for current value debtor's interest
(i.e., VIN, HIN, or N-number) (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1. Bobcat & Trailer $0.00 $76,000.00
47.2. Ford 150 Pick up truck $0.00 $28,000.00
48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
floating homes, personal watercraft, and fishing vessels
49. Aircraft and accessories
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
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Debtor Bluffton Plumbing Heating & Elec >trical, Inc Case number (if known)
Name

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not previously reported on this form.

EA No. Go to Part 12.
CJ Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personai Property page 5
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Debtor Bluffton Plumbing Heating & Elecctrical, Inc Case number (if known)
Name

FE ea Summary

In Part 12 copy all of the totals from the earlier parts of the form

Type of property Current value of : Current value of real
personal property : property

80. Cash, cash equivalents, and financial assets.

Copy line 5, Part 7 $15,050.00
81. Deposits and prepayments. Copy line 9, Part 2. $0.00
82. Accounts receivable. Copy line 12, Part 3. $0.00
83. investments. Copy line 17, Part 4. $0.00
84. Inventory. Copy fine 23, Part 5. $2,000.00
85. Farming and fishing-related assets. Copy fine 33, Part 6. $0.00
86. Office furniture, fixtures, and equipment; and collectibles. $0.00

Copy line 43, Part 7. :
87. Machinery, equipment, and vehicles. Copy line 51, Part 8. $104,000.00
88. Real property. Copy line 56, Part Q.....cccccccceeee ses iseetseceecscessseetenssreneseesensenenaseeenereensienns > $0.00
89. Intangibles and intellectual property. Copy line 66, Part 70. $0.00
90. All other assets. Copy line 78, Part 11. + $0.00
91. Total. Add lines 80 through 90 for each column $121,050.00 + 91b. $0.00
92. Total of all property on Schedule AJB. Add lines 91a+91b=92 $121,050.00

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 6

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Bluffton Plumbing Heating & Electric

Name Company name Phone oer
Ashley MacAfee (260) 278-0322 $17,115.00
Laura Michael (360) 572-1433 $7,200.00
Martin, John $4,300.00
Swiss Meadows Apartments Swiss Meadows Apartments (260) 589-8461 $3,581.84
Morgan, Shane & Denise (260) 296-1115 $3,572.09
Shawn Smiley (260) 403-2309 $3,347.02
Dirig, Laura (260) 341-9560 $3,123.90
Walmart - Decatur (260) 724-9990 $1,809.69
Brad Lakey (260) 420-1502 $1,315.29
McLeod, Malcolm & Brenda neon 7boasis $1,190.70
Dedrick, Chuck (260) 307-3769 $986.74
Hardee's (260) 824-2668 $955.27
Goulet, Norm (260) 297-2175 $935.00
McBride, Brian $923.88
Walmart Huntington 260-358-8311 $904.58
American Legion (260) 824-3815 $900.00
Phillips 66 Phillips 66 (260) 758-2288 $850.38
Rigby, Robert (260) 273-1852 $838.25
Bluffton Walmart Innovative Bluffton Walmart Innovative $807.81
Facility Solutions Facility Solutions
Misc $799.98
Buchanan, Terry $778.52
Lautzenheiser, Greg $762.65
Mann, Tony $747.04
Jackson, Conner & Ashley (260) 228-1263 $744.45

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Name Company name Phone pope
Conner
Gearhardt, Christina (616) 377-8219 $735.00
Meadows, Dave (260) 273-2300 $694.45
Miller, Steve S (260) 273-7134 $665.00
Tony Conrad (260) 433-5577 $660.00
Downing, Aaron & Crystal (260) 228-0586 $554.82
Stockman, Kathy Katty $534.71
Schoeff, Dave (574) 780-7687 $513.90
D&M Lance LLC D & MLance, LLC (260) 227-2736 $505.60
Peterson, Steven & Leah ee0) STS AAT $500.00
Poindexter, Kamaca $471.22
Sondra Hausaver $469.65
Tam, Chuck & Stacy (260) 273-6671 $454.10
Renner, Adael (517) 677-8206 $453.68
Dale, Don (260) 273-5109 $452.84
Sherman, Levi & Bre (260) 228-1890 $451.01
Ferrandino & Son (866) 571-4609 $442.39
Sprow, Chris (260) 494-2103 $440.00
Bauman, Karen (260) 227-0619 $434.10
Max Ineichen (260) 849-2844 $420.46
Barnhart, Justina (260) 273-8718 $418.38
Platas, Mariel (845) 548-2510 $415.14
Barry Melton $410.88
Doty, Alan (260) 273-9378 $404.00
Wiley, Bailey (765) 610-4821 $391.67

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Bluffton Plumbing Heating & Electric

Name Company name Phone Open balance
Akey, Alex & Chelsey (260) 402-1682 $360.25
Dawn Thornsberry $358.23
Villanueva, Joey & Stephanie (260) 273-1939 $347.50
King, Robin $342.27
Bailey, Ann (260) 307-3204 $338.00
Lumpkin, Ashley $333.00
Mike Roll Diner Diner $330.00
Walmart - Maysville Rd Walmart - Maysville Rd | (260) 492-5845 $330.00
Pietosi, Mike (260) 301-1700 $327.65
Agland Grain Agland Grain (260) 824-3820 $316.51
Maurices $304.75
Irwin, Sally $302.54
Stewart, Ray & Becky (260) 565-3293 $302.50
McCaffery, Steven $301.49
Monroe Muffler (480) 398-7301 EXT 1 Kartrina | $300.53
Gawronski, Todd & Marsha 260-622-4060 $299.03
Wickey Renovations Wickey Renovations (419) 615-5627 $292.50
Hanes, Jessica (260) 413-7823 $290.00
Larrabee, Richard & Wendy (260) 223-6118 $289.09
Jessup, Lynne (260) 414-0894 $285.00
Knell, Paul & Danielle (260) 525-0852 $270.00
Stinson, Gary & Margetta (260) 827-0382 $261.08
Werling, Ciena (260) 444-7861 $247.80
Rohde, Wayne (260) 273-7076 $245.17
Crawford, Christina (260) 366-7514 $243.33
Owen, Mark & Rachel (765) 414-0400 Work $237.78

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Cover, Dust” Company name | (oa) aag-10ie Pen palance
Reidt, Norm & Donna (260) 824-5517 $222.78
Kyle Loyd-Reier $214.00
Dunnuck, Theresa (260) 443-8265 $210.00
Prough, Barb (260) 824-4009 $201.40
Reinhard, Kyle (260) 402-9943 $199.55
Midwest Properties REO Midwest Properties (317) 813-9463 $190.70
NK Holdings Huntington LLC (305) 810-9519 $186.38
Gerber, Jerry 260-820-0680 $184.94
Green Sr., James & lrene (260) 227-1209 $182.39
Doherty, Tina (260) 387-5480 $180.78
Hull, Michael (260) 824-2083 $180.00
Kaehr, Doug & Tammy (260) 413-7610 Tammy $180.00
NK Holdings LLC 305-810-9519 Nick $180.00
Raab, Robert & Kimberly (260) 450-3445 $180.00
Orrison, Gary & Judith 260-273-1207 $174.00
Jesse Coffman (260) 444-7289 $173.53
Cortez, Krystal (760) 447-0090 $171.73
Worthman, Stan (260) 622-4372 $170.60
Silvia, Rene & Amanda (260) 706-1817 $166.25
Onuegbu, Sherry & Albert 260-820-1302 $164.00
Kracium, Mike & Sheila (260) 824-3870 $157.45
Helm, Steven (260) 223-0433 $152.27
Bunn, Alan & Amanda (260) 255-9188 Allen $152.05

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Open
Name Company name Phone balance
(260) 824-2132
Shady, Kent Kent $381.08
260-820-0859 Tim $380.00

Cravin Vapes

Mc Knight

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Bluffton Plumbing Heating & Electric

Name Company name Phone Open balance
Robles, Amos & Danielle (260) 273-9713 Danielle $150.00
Cross, Douglas (260) 312-2135 $147.72
Habig, Stephanie (260) 827-2000 Work $145.31
Chilton, Jim (260) 820-1300 Cell $140.70
Vassil, Darlene (219) 798-6443 $137.50
Johnson, Brady (260) 307-1006 $130.00
Rothgeb, Chad (260) 820-7186 $130.00
Fryback, Justin (260) 615-8583 $120.00
Mitchell, Ted & Amy (260) 760-0186 $120.00
Reynolds, Avian & Gwen (Abby) (260) 273-0245 Avian $120.00
2 Stout, Randy & Jean (260) 694-6551 $120.00
Scott Richardson $114.00
Ivins, Daniel (260) 273-3348 $100.00
Bostic, Tana $99.28
Foss, Katlin (260) 273-6853 $95.00
Imel, Ron $95.00
Maurices Bluffton $95.00
Bright, Priscilla (260) 517-9929 $94.60
Lohr, Rodney (260) 466-8423 $90.00
Cynthia Sumwalt (260) 273-7545 $89.00
Dana Myers Botteron (260) 385-2468 $89.00
Freeman, Brandy (260) 388-2249 $89.00
Jacob, Jeff & Melanie (260) 579-2591 $89.00
Oltman, David & Marlene 574-354-0284 $89.00
Young, Angela (260) 413-9563 $66.05
Mygrant, Rodney $62.75

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Amadei, Gina "° Company name | 75) 474-0808" gap en balance
Hale, Jeramiah (260) 442-2068 $60.00
Johnson, Lamont (260) 804-9038 $60.00
Humphrey, Kenneth (260) 827-7680 $53.85
Studabaker, Larry (260) 273-2021 $37.45
Morgan, Rick (260) 824-3281 $29.96
Hammons, Ronald & Carol (260) 417-8685 Carol $27.09
DeLaRosa, Andrew (419) 989-9805 $19.40
1st choice Realty $0.00
20/20 Custom Molding Plastic (260) 565-2020 $0.00
Abbott, Richard (260) 824-0683 $0.00
Abe Pratt (517) 932-8063 $0.00
Abernathy, Lisa (260) 827-0820 $0.00
Above and Beyond $0.00
Acord, Jerry & Debbie (260) 450-6736 $0.00
Adam Bunn (260) 431-8027 $0.00
Adam Horman (260) 419-9762 $0.00
Adam Prater $0.00
Adams, Blake (260) 760-5332 $0.00
Adams, Greg & Deborah (260) 452-8854 $0.00
Adams, Kathleen $0.00
Adams, Michelle (260) 701-3601 $0.00
Adams, Ross (260) 452-6430 $0.00
Addington, Joy (260) 824-2459 $0.00

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Debtorname _ Bluffton Plumbing Heating & Elecutrical, Inc

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF INDIANA

Case number (if known)

O

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

Check if this is an
amended filing

12/5

Be as complete and accurate as possible.

4. Do any creditors have claims secured by debtor's property?

(1 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

Ei Yes. Fill in all of the information below.
[fie List Creditors Who Have Secured Claims

Column A

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured

claim, list the creditor separately for each claim.

Amount of claim

Column B

Value of collateral

that supports this
Do not deduct the value claim
of collateral.
24 |US Bank Describe debtor's property that is subject to a lien $28,000.00 $28,000.00
Creditor's Name Ford 150 Pick up truck
PO Box 5227
Cincinnati, OH 45202
Creditor's mailing address Describe the lien
Is the creditor an insider or related party?
FA No
Creditor's email address, if known C] Yes
Is anyone else liable on this claim?
Date debt was incurred EA No
CI Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check ail that apply
Ei No CO Contingent
(1 Yes. Specify each creditor, G Unliquidated
including this creditor and its relative oO Disputed
priority.
2.2 | Wells Fargo Describe debtor's property that is subject to a lien $76,000.00 $76,000.00
Creditors Name Bobcat & Trailer
800 Walnut
Des Moines, IA 50309
Creditor’s mailing address Describe the lien
Is the creditor an insider or related party?
No
Creditor’s email address, if known oO Yes
Is anyone else liable on this claim?
Date debt was incurred BNo
C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2
Case 23-11182-reg Doc1 Filed 09/14/23 Page 20 of 35

Debtor Bluffton Plumbing Heating & Elec: trical, Inc Case number (if known)
Name
Ed No C) contingent
CI yes. Specify each creditor, Ei Unliquidated
including this creditor and its relative oO Disputed
priority.

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. $104,000.00

List Others to Be Notified fora Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity

Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

Case 23-11182-reg Doc1 Filed 09/14/23 Page 21 of 35

PAE Tat} eesti ce) eC Uo erste

Debtorname _ Bluffton Plumbing Heating & Elec ‘trical, Inc

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number (if known)

C1 Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

Fl No. Go to Part 2.

C] Yes. Go to tine 2.

List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $8,280.00
Adams Wells Phone Book, LLC [] Contingent
ee een ae B unliquidated
raigvile, C] pisputed
Date(s) debt was incurred
— Basis for the claim: __
Last 4 digits of account number _
1s the claim subject to offset? Fino O ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $10,765.00
AG Best Corporation Office C] contingent
Box 47308 unliquidated
uncie, Oi Disputed
Date(s) debt was incurred _
Basis for the claim: __
Last 4 digits of account number _
Is the claim subject to offset? Hl No C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $11,455.00
Discover CO contingent
Carol Stream, IL 60197  Uniguiated
aro! stream, CO Disputed
Date(s) debt was incurred __
Basis for the claim: _
Last 4 digits of account number _1545,4267
Is the claim subject to offset? FANo ClYes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $90,000.00
J&K Enterprises C contingent
Ie pono On EB Uniiquidated
arren, C] Disputed
Date(s) debt was incurred _
Basis for the claim: __
Last 4 digits of account number __
Is the claim subject to offset? Hl No [1 Yes
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 2

54931
Case 23-11182-reg Doc1 Filed 09/14/23 Page 22 of 35

Debtor Bluffton Plumbing Heating & Elecutrical, Inc

Case number (if known)

Name
35 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $8,000.00
News Banner C] contingent
125 donsen sect iit
uriton, 3 Disputed
Date(s) debt was incurred _
Basis forthe claim: _
Last 4 digits of account number _
ts the claim subject to offset? Eno Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $11,609.00
Three Rivers Credit Card CJ Contingent
Po Box ‘e 58103 E Untiquidated
mana, O Disputed
Date(s) debt was incurred _
Basis forthe claim: _
Last 4 digits of account number __
is the claim subject to offset? Eno Clyves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $30,000.00
Tradesman International, LLC C] contingent
1088 aro Roa as El Uniiquidated
° ayne, C] Disputed
Date(s) debt was incurred _
Basis for the claim: __
Last 4 digits of account number __
Is the claim subject to offset? Eno O ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $7,495.00

Verizon/CBE Group
1309 Technology Pkwy
Cedar Falls, IA 50613

Date(s) debt was Incurred _

Last 4 digits of account number _

oO Contingent

3 Unliquidated
C3 Disputed

Basis for the claim: _

Is the claim subject to offset? Hino [ves

List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Name and mailing address

On which line in Part4 or Part 2 is the
related creditor (if any) listed?

Last 4 digits of
account number, if

5a. Total claims from Part 1
5b. Total claims from Part 2

5c. Total of Parts 1 and 2

any
[GEEZ Ey Total Amounts of the Priority and Nonpriority Unsecured Claims
5, Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts
5a. $ 0.00
5b. + $ 177,604.00
Lines 5a + 5b = 5c. 5c. $ 177,604.00

Official Form 206 E/F

Schedule E/F:

Creditors Who Have Unsecured Claims

Page 2 of 2
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Debtorname Bluffton Plumbing Heating & Elec«trical, Inc

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number (if known)

(1 Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
CO No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

EE Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Leasing a Commercial

lease is for and the nature of = Building
the debtor's interest

State the term remaining
J&K Enterprises
List the contract number of any 132 Dogwood Drive
government contract Warren, IN 46792

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Debtorname Bluffton Plumbing Heating & Elec »trical, Inc

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number (if known)

{] Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 412145

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

EB No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Cl] Yes
2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of

creditors, Schedules D-G. Include all guarantors and co-obligors. in Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check all schedules
that apply:
2.4 Ob
Street OC] E/F
OG
City State Zip Code
2.2 OD
Street C] E/F
OG
City State Zip Code
2.3 OD
Street O E/F
OG
City State Zip Code
2.4 Cb
Street C) E/F
OG
City State Zip Code

Official Form 206H Schedule H: Your Codebtors Page 1 of 1
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NEMEC Cee ih Ulver i 3

Debtorname Bluffton Plumbing Heating & Elece:trical, Inc

United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA

Case number (if known)

(CQ Check if this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors ts

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1344,
1519, and 3571.

Pe Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual! serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration

OOO Soe

| declare under penalty of perjury that the foregoing is true and corregf.
sxceuwson G/1 Y43 « Ae hon
c oo Signature of individUal signing on behalf of debtor

Chad E. Wooster

Printed name

President

Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
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Debtorname Bluffton Plumbing Heating & Elec-strical, Inc

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF INDIANA

Case number (if known)

O Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

[EERE Income

4. Gross revenue from business

CO] None.
Identify the beginning and ending dates of the debtor’s fiscal year, Sources of revenue Gross revenue
which may be a calendar year Check all that apply (before deductions and
exclusions)

From the beginning of the fiscal year to filing date: Operating a business $127,000.00
From 1/01/2023 to Filing Date

[] Other
For prior year: Ea Operating a business $359,000.00
From 1/04/2022 to 12/31/2022

C) Other
For year before that: EZ Operating a business $0.00
From 1/01/2021 to 12/31/2021

(] Other

2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

El None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Fl None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
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Debtor Bluffton Plumbing Heating & Elecetrical, Inc Case number (if known)

or cosigned by an insider unless the aggregate value of ail property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives: affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

Ef None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer
Relationship to debtor

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

E None

Creditor's name and address Describe of the Property Date Value of property

6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

[] None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

Christine Hayes Hickey Hold on Three Rivers FCU Acct. May 2023 $0.00

Rubin & Lvein, P.C. Last 4 digits of account number: __ 3223

134 N Pennsylvania St Ste 1400
Indianapolis, IN 46204

Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity—within 1 year before filing this case.

CJ None.
Case title Nature of case Court or agency's name and Status of case
Case number address

7.1. Bluffton Heating, Plumbing, & Marion Superior Court H Pending
Electrical, INC. C1 on appeal
Tradesman International, LLC C1 Concluded
49D12-2302-CC-007276

7.2. Bluffton Plumbing, Heating & Wells Superior Court El Pending
Electrical, Inc. C1 on appeal

[1 Concluded

Adams Wells Phone Book,
LLC
90D01-2307-SC-000282

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

@ None

[Ene aee Certain Gifts and Charitable Contributions

Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 2
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Debtor Bluffton Plumbing Heating & Electrical, Inc Case number (if known)

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

EA None

Recipient's name and address Description of the gifts or contributions Dates given

Certain Losses

Value

140. All losses from fire, theft, or other casualty within 1 year before filing this case.
Ei None

Description of the property lost and Amount of payments received for the loss Dates of loss
how the loss occurred

If you have received payments to cover the loss, for

example, from insurance, government compensation, or

tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B: Assets — Real and Personal Property).

Certain Payments or Transfers

Value of property
lost

11. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy

relief, or filing a bankruptcy case.

C1 None.
Who was paid or who received If not money, describe any property transferred Dates Total amount or
the transfer? value
Address

11.1. Fred Wehrwein, P.C.
1910 St. Joe Center Rd., #52 Sept. 8,
Fort Wayne, IN 46825 Attorney Fees 2023 $1,700.00

Email or website address
Wehrweinpc@aol.com

Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case

to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

El None.

Name of trust or device Describe any property transferred Dates transfers
were made

13. Transfers not already listed on this statement

Total amount or
value

List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. include

both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

CI) None.

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

page 3
Case 23-11182-reg Doc1 Filed 09/14/23 Page 29 of 35

Debtor Bluffton Plumbing Heating & Elecv trical, Inc Case number (if known)
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value
13.1 Facebook
2003 Bucket Truck May 2023 $1,500.00
Relationship to debtor
None
13.2 Facebook
2009 Box Truck may 2023 $850.00
Relationship to debtor
None
13.3 Brian Worthman
2005 Chevy Express van June 2023 $750.00
Relationship to debtor
None
13.4 Robert
2007 Chevy Express Van June 2023 $500.00
Relationship to debtor
None
13.5 Toms Truck
2014 GMC Savanna May 2023 $1,200.00

Relationship to debtor
none

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

EZ Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

fi No. Go to Part 9.
C1 Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

Personally Identifiable Information

Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 4

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Debtor Bluffton Plumbing Heating & Electrical, Inc Case number (if known)

16. Does the debtor collect and retain personally identifiable information of customers?

Ei No.
(Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?

(E2RE0H Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

C2 None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred
18.1. Three Rivers FCU XXXX- 0 Checking January 2023 $0.00

CQ Savings
C] Money Market
Cl Brokerage

2 other Tax Acct

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case.
Ei None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

Ei None

Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?

\iuhHe Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

Ei None

E2eEHe Details About Environment Information

For the purpose of Part 12, the following definitions apply:

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5
Case 23-11182-reg Doc1 Filed 09/14/23 Page 31 of 35

Debtor Bluffton Plumbing Heating & Elec-trical, Inc Case number (if known)

Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

H No.

Ol Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

| 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

H No.
Ol Yes. Provide details below.
address

Site name and address Governmental unit name and Environmental law, if known Date of notice
24. Has the debtor notified any governmental unit of any release of hazardous material?

HH No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

[GEREH Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

1 None
Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
Dates business existed
25.1. Bluffton Plumbing Heating Plumbing, heating, electrical repair EIN: XX-XXXXXXX
Electrical Inc and services

From-To Sept 2017. JUNe QOIXD

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

CX None
Name and address Date of service
From-To
26a.1. Foudy CPA Group Dec 2022
2401 N Main Street
Bluffton, IN 46714
26a.2. Emshwiller Dec 2019-Dec 2022

207 N Johnson Street
Bluffton, IN 46714

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6
Debtor Bluffton Plumbing Heating & Electrical, Inc Case number (if known)

27.

28.

29.

30.

31.

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26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

EI None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

Ed None

Name and address if any books of account and records are
unavailable, explain why

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

Ei None

Name and address

Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

EH No

C1 Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general! partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Hi No
C]_ Yes. Identify below.

Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

O No
Ei Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value
30.1 Chad Wooster
5880 N Lincold Regular weekly
Uniondale, IN 46791 $46,000.00 2022-current paycheck

Relationship to debtor
President

Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

FA No
[1 Yes. Identify below.

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Debtor Bluffton Plumbing Heating & Elec: trical, Inc Case number (if known)

Name of the parent corporation Employer Identification number of the parent

corporation
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

Ei No
C1 Yes. Identify below.

Name of the pension fund Employer Identification number of the pension

fund

(Ete Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penaity of perjury that the foregoing is true and correct.

Executed on of} 3f 3

Dh Se Ji Chad E. Wooster

Signature of individtal signing ormbehalf of the debtor Printed name

Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
EI No

Yes

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(6/2010)
United States Bankruptcy Court
Northern District of Indiana
Inte Bluffton Plumbing Heating & Electrical, Inc Case No.

Debtor(s) Chapter 7

VERIFICATION OF CREDITOR MATRIX

The above-named debtor(s) verifies under penalty of perjury that the attached list of creditors is true and correct to the best of
his/her knowledge.

pw: 9/13 [23 hele hoo

Chad E. Wooster/President
Signer/Title
Case 23-11182-reg

Adams Wells Phone Book, LLC
2351 N. Main Street
Craigville, IN 46771

AG Best Corporation Office
PO Box 392
Muncie, IN 47308

Discover
P.O. Box 6103
Carol Stream, IL 60197

J&K Enterprises
132 Dogwood Drive
Warren, IN 46792

News Banner
125 N Johnson Street
Bluffton, IN 46714

Three Rivers Credit Card
PO Box 2711
Omaha, NE 68183

Tradesman International, LLC
1693 Carroll Road
Fort Wayne, IN 46845

US Bank
PO Box 5227
Cincinnati, OH 45202

Verizon/CBE Group
1309 Technology Pkwy
Cedar Falls, IA 50613

Wells Fargo
8ee@ Walnut
Des Moines, IA 50309

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